        Case 1:05-cr-00024-MP-AK                      Document 40     Filed 11/03/05        Page 1 of 8


FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 1 of 8
1:05CR24-002 - AMY ELAINE RONEY


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                            Case # 1:05CR24-002

AMY ELAINE RONEY
                                                                USM # 20618-017

                                                                Defendant’s Attorney:
                                                                Lloyd Vipperman (Appointed)
                                                                115 S.E. 7th Street
                                                                Gainesville, FL 32061
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Counts 1 and 2 of the Information on July 22, 2005. Accordingly, IT
IS ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

       TITLE/SECTION                            NATURE OF               DATE OFFENSE
          NUMBER                                 OFFENSE                 CONCLUDED                COUNT

 18 U.S.C. § 1708                   Possession of Stolen Mail           February 23, 2005          One

 18 U.S.C. §§ 1029(a)(2),           Conspiracy to Use                   February 23, 2005          Two
 (b)(2) and (c)                     Unauthorized Access Devices

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.



                                                                Date of Imposition of Sentence:
                                                                October 28, 2005


                                                                s/Maurice M. Paul

                                                                MAURICE M. PAUL, SENIOR
                                                                UNITED STATES DISTRICT JUDGE

                                                                November 3, 2005
        Case 1:05-cr-00024-MP-AK                      Document 40    Filed 11/03/05   Page 2 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 2 of 8
1:05CR24-002 - AMY ELAINE RONEY


                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 18 months as to Counts One and Two, each to run concurrently with
the other.

The Court recommends to the Bureau of Prisons:

      It is the recommendation of the Court while in the custody of the Bureau of Prisons, the
defendant be allowed to participate in a drug treatment program.

      The defendant is remanded to the custody of the United States Marshal. The defendant
was denied bond and has remained in the custody of the U.S. Marshal until sentencing.
      .




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
        Case 1:05-cr-00024-MP-AK                      Document 40    Filed 11/03/05        Page 3 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                 Page 3 of 8
1:05CR24-002 - AMY ELAINE RONEY


                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of 3 years as to Counts One and Two, each to run concurrently with the other.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;
        Case 1:05-cr-00024-MP-AK                      Document 40      Filed 11/03/05         Page 4 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                    Page 4 of 8
1:05CR24-002 - AMY ELAINE RONEY



11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          The defendant shall not own or possess a firearm, dangerous weapon or other destructive
          device.

          The defendant shall remain gainfully employed or actively seek employment while under
          supervision.

          The defendant shall participate in a program of drug and/or alcohol testing, treatment and
          counseling which may include in-patient treatment.

          The defendant shall provide the probation officer with access to any requested financial
          information as long as she owes restitution.

          The defendant shall not incur new credit charges or open additional lines of credit without
          the approval of the probation officer or use the credit card of any other person or entity.

          The defendant shall reside in a residence approved by the probation officer.

          The defendant shall not have direct or indirect contact with co-defendant, Billy West, Jr.

          The defendant shall pay any unpaid restitution in monthly installments of not less than
          $100.00 to commence no later than 60 days after release from imprisonment.

          The defendant shall cooperate with the Probation Office and/or the Florida Department of
          Revenue’s Child Support Enforcement Program in the establishment and enforcement of
          child support payments. Additionally, the defendant shall reimburse the Department of
          Revenue for any AFDC paid to any of her children. The defendant shall contribute 25% of
          her net income toward any current child support, child support arrearages and/or AFDC paid
          out to her children.
        Case 1:05-cr-00024-MP-AK                      Document 40   Filed 11/03/05   Page 5 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                      Page 5 of 8
1:05CR24-002 - AMY ELAINE RONEY


       Upon a finding of a violation of probation or supervised release, I understand the Court may
(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have been
provided a copy of them.




          Defendant                                                        Date




          U.S. Probation Officer/Designated Witness                        Date
        Case 1:05-cr-00024-MP-AK                      Document 40         Filed 11/03/05     Page 6 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                 Page 6 of 8
1:05CR24-002 - AMY ELAINE RONEY


                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
in the Schedule of Payments may be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                      Fine                         Restitution
                $200.00                                       NONE                         $11,396.21




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed.

No fine imposed.

                                                      RESTITUTION

Restitution in the amount of $11,396.21 is imposed.

The defendant shall make restitution to the following victims in the amounts listed below.


                                                           Total Amount                  Amount of
           Name of Payee                                      of Loss                Restitution Ordered

 B B & T, Branch Banking and                                $4,168.06                       $4,168.06
 Trust Co.

 Sun Trust Bank, Bank Card                                   $352.04                         $352.04
 Division (RE: Account #’s
 113142 and 134815)
        Case 1:05-cr-00024-MP-AK                      Document 40      Filed 11/03/05    Page 7 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                            Page 7 of 8
1:05CR24-002 - AMY ELAINE RONEY


 Florida Credit Union                                      $670.00                      $670.00

 Robins Federal Credit Union                               $456.60                      $456.60

 Sun Trust Bank                                            $625.00                      $625.00

 Gail Becka                                                $165.00                      $165.00

 Davis Oil                                                  $26.38                       $26.38

 Jameson Inn                                               $140.12                      $140.12

 Courtyard by Marion Macon                                 $509.34                      $509.34

 Cozy Inn                                                  $654.00                      $654.00

 Bradbury Inn and Suites                                   $565.00                      $565.00

 Country Inn and Suites                                    $448.14                      $448.14

 Wingate Inn                                               $1,221.79                    $1,221.79

 Texas Cattle Company                                      $152.89                      $152.89

 Jameson Inn                                                $64.96                       $64.96

 Best Western                                               $76.30                       $76.30

 Lizella Market                                             $79.52                       $79.52

 Check Care Collection Agency                              $334.74                      $334.74

 Channel Marker 71                                         $686.33                      $686.33
 Barrier Island Inn


       If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise. If nominal payments are made by the defendant
the court authorizes those payments to be made to the victims on a rotating basis.

       The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page.

          Restitution in the amount of $11,396.21 is hereby ordered jointly and severally
          with: Billy Allen West, Jr.



 In the interest of justice, interest on restitution is hereby waived.
        Case 1:05-cr-00024-MP-AK                      Document 40   Filed 11/03/05      Page 8 of 8



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                             Page 8 of 8
1:05CR24-002 - AMY ELAINE RONEY


                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7) penalties
in full immediately

in installments to commence 60 day(s) after release from imprisonment. In the event the entire
amount of criminal monetary penalties imposed is not paid prior to the commencement of
supervision the U.S. probation office shall pursue collection of the amount due, and shall request
the court to establish a payment schedule if appropriate; or

In monthly installments of not less than $100.00 over a period of to commence after release from
imprisonment.

Payment during the term of supervised release will commence within 60 days after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s
ability to pay at that time.

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of a
change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to the
commencement of supervision, the U.S. probation officer shall pursue collection of the amount due.
The defendant will receive credit for all payments previously made toward any criminal monetary
penalties imposed.
